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                                   UNITED STATES DISTRICT COURT

                                       DISTRICT OF NEVADA

                                               ***
                                                )        CASE NO. 2:20‐cv‐01470‐GMN‐VCF
IMAGEKEEPER LLC,                                )
                                                )        MINUTE ORDER
                      Plaintiff,                )
v.                                              )        DATE: September 14, 2020
                                                )
WRIGHT NATIONAL FLOOD INSURANCE                 )
SERVICES LLC,                                   )
                                                )
                      Defendant.                )
                                                )



PRESENT:    THE HONORABLE GLORIA M. NAVARRO, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK: AARON BLAZEVICH REPORTER:              NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                          NONE APPEARING
COUNSEL FOR DEFENDANT(S):                       NONE APPEARING
MINUTE ORDER IN CHAMBERS:

        IT IS ORDERED that a hearing is set for Wednesday, September 23, 2020, at 10:00 a.m.
in LV Courtroom 7D before Judge Gloria M. Navarro.

        IT IS FURTHER ORDERED that the Public may access and listen to the Revocation Hearing
as follows:

               Public telephonic participants shall call AT&T no later than five (5)
               minutes prior to the hearing at 1 (877) 402‐9753 and provide Access
               Code 2843316#. You must mute your phone to avoid causing
               distractions during the hearing.

                      INSTRUCTIONS FOR VIDEO CONFERENCE HEARING

        Video Instructions for scheduled hearings will be sent via email at least 30 minutes prior
to the hearing at the participant’s email provided to the Court.

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IT IS FURTHER ORDERED that the following Video Conference Instructions must be adhered to
as follows:

             Log on to the video conference five (5) minutes prior to the hearing time.
             Mute your sound prior to entering the hearing.
             Do not talk over one another.
             Each time you speak, state your name for the record.
             Do not have others in the video screen or moving in the background.
             No recording of the hearing.
             No forwarding of any video conference invitations.
             Unauthorized users on the video conference will be removed.

      IT IS SO ORDERED.

                                                   DEBRA K. KEMPI, CLERK

                                                   By:               /s/
                                                          Aaron Blazevich, Deputy Clerk
